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                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE
    In re:                                                             Chapter 11

    LORDSTOWN MOTORS CORP., et al.,1                                   Case No. 23-10831-MFW

                                 Debtors.                              (Jointly Administered)

                                                                    Objection Deadline:
                                                                    March 5, 2024 at 4:00 p.m. (ET)

                                                                    Hearing Date:
                                                                    March 14, 2024, at 3:00 p.m. (ET)

     NOTICE OF SECOND INTERIM FEE APPLICATION OF HURON CONSULTING
      GROUP, INC., FINANCIAL ADVISOR TO THE OFFICIAL COMMITTEE OF
       UNSECURED CREDITORS, FOR ALLOWANCE OF COMPENSATION FOR
         SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES FOR
           THE PERIOD OCTOBER 1, 2023 THROUGH DECEMBER 31, 2023

              PLEASE TAKE NOTICE that on February 14, 2024, the Official Committee of
Unsecured Creditors (the “Committee”) filed the attached Second Interim Fee Application of
Huron Consulting Group Inc., Financial Advisor to the Official Committee of Unsecured Creditors
for Allowance of Compensation for Services Rendered and Reimbursement of Expenses for the
Period October 1, 2023 Through December 31, 2023 (the “Application”) with the United States
Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”).

                PLEASE TAKE FURTHER NOTICE that in accordance with the Order
Establishing Procedures for Interim Compensation and Reimbursement of Expenses for Chapter
11 Professionals and Committee Members [Docket No. 181] (the “Compensation Procedures
Order”) entered by the Court on July 25, 2023, any objection or other response to the Application
must be (i) filed with the Clerk of the United States Bankruptcy Court for the District of Delaware,
824 North Market Street, 3rd Floor, Wilmington, Delaware 19801, on or before March 5, 2024
at 4:00 p.m. (Eastern Time) (the “Objection Deadline”); and (ii) served so as to be actually
received no later than the Objection Deadline by (a) the Applicant (Laura Marcero,
lmarcero@hcg.com) and (b) the Notice Parties (as defined and identified in the Compensation
Procedures Order).

               PLEASE TAKE FURTHER NOTICE that a hearing with respect to the
Application will be held on March 14, 2024 at 3:00 p.m. (ET) at the United States Bankruptcy
Court for the District of Delaware before the Honorable Mary F. Walrath, 5th Floor, Courtroom 4,
824 North Market Street, Wilmington, Delaware 19801.


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             The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
             Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
             address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.




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         IF NO OBJECTIONS TO THE APPLICATION ARE TIMELY FILED,
SERVED AND RECEIVED IN ACCORDANCE WITH THIS NOTICE, THE COURT
MAY GRANT THE RELIEF REQUESTED IN THE APPLICATION WITHOUT
FURTHER NOTICE OR HEARING.

Dated: February 14, 2024
Wilmington, Delaware              TROUTMAN PEPPER HAMILTON SANDERS LLP

                                  /s/ Tori L. Remington
                                  David M. Fournier (DE 2812)
                                  Tori L. Remington (DE No. 6901)
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                                  -and-
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                                  -and-
                                  Sean P. McNally (admitted pro hac vice)
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                                  Southfield, MI 48075
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                                  Email: sean.mcnally@troutman.com

                                  Counsel to the Official Committee of Unsecured Creditors




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